                Case 2:17-cv-00693-WKW-SMD Document 1 Filed 10/13/17 Page 1 of 6

Pro Sel(Rcv.12/16)Complaintfora Civil Case                                                                                           -




                                      UNITED STATES DIsT1ucT COURT
                                                  RECEIVED
                                                         Middle District of Alabama
                                                                       LUll OCT13 P 2: 5
                                                                 Eastern Division
                                                                   IE;' R ;CETT, 'L
     Jeanetta Spnnger, Pro Se, and Jacob C Springer,                         rkaeo1                       . ,c1
                                                                                             I_i-                  3   I)1i41
                                                                         )               (to be   filled in by the Clerk's Office)

                              Plaintiff(s)                               )
(Write the full name of each plaintiff who is filing this complaint.     )Jury Tial• (check one) [J          Yes
If the names of all the plainiiffs cannot fit in the space above,
                                                                                                                        IN0
please write "see attached" in the space and attach an additional        )
page with the fidl list of names)                                        )
                                -v-                                      )
 Wells Fargo Bank, N.A. (As successor of Wachovia                        )
    Bank, NA/I/k/a Southtn.ist Bank, NA); Sirote &                       )
     Permutt PC State of Alabama Department of                           )
         Revenue, Vernon Barnett. Commissioner
                                                                         )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannotfit in the space above, please         )
write "see attached" in the space and attach an additional page          )
with the full list of names.)


                                               COMPLAINT FOR A CIVIL CASE


I.         The Parties to This Complaint
           A.     The Plaintiff(s)
                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                            Name                         Jeanette Springer and Jacob C. Spnnger
                            Street Address               195 Cynthia Circle
                            City and County              Roanoke, Randolph
                            State and Zip Code           AL 36274
                            Telephone Number             256-375-2862 and 334-338-5004
                            E-mail Address


           B.       The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known). Attach additional pages if needed.

                                                                                                                                     Page 1 of 5
              Case 2:17-cv-00693-WKW-SMD Document 1 Filed 10/13/17 Page 2 of 6

Prose 1 (Rev. 12116) Complaint for aCivil Case

                     Defendant No. 1
                               Name                         Wells Fargo Bank, N.A.
                               Job or Title 4f known)       Successor of WachOvia Bank, NA, f/k/a Southtrtist Bank, N.A.
                               Street Address               420 Montgomery Street
                               City and County              San Francisco, San Francisco
                               State and Zip Code           CA 94104
                               Telephone Number
                               E-mail Address (f known)


                    Defendant No.2
                               Name                         Sirote & Permutt, P.C.
                               Job or Title (f known)
                               Street Address               2311 Highland Avenue 5, P.O. Box 55727
                               City and County              Birmingham, Jefferson
                               State and Zip Code           AL 35205
                               Telephone Number             205-930-5100
                               E-mail   Address (f known)


                     Defendant No.3
                               Name                         Vernon Barnett, Commissioner of Revenue
                               Job or Title ((1known)       State of Alabama Department of Revenue
                               Street Address               50 North Ripley Street
                               City and County              Montgomery, Montgomery
                               State and Zip Code           AL 36132
                               Telephone Number             334-353-8096
                               E-mail Address (if known)


                    Defendant No. 4
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if *iöwn)



                                                                                                                   Page 2 of 5
               Case 2:17-cv-00693-WKW-SMD Document 1 Filed 10/13/17 Page 3 of 6

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

LI.        Basis for Jurisdiction
          Federal courts are courts of limited jurisdiction (limited power). Generally, Only two types of cases can be
          heard in federal court cases involving a federal question and cases involving diversity of citizenship of the
          parties Under 28 U S C § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
              jFederal question                               Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.          If the Basis for Jurisdiction Is a Federal Question
                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                      Due Process Guarantee in Amendment V; Amendment VII (Jury Trial in Civil Cases); Amendment XIV
                      Section 1



          B.         If the Basis for Jurisdiction Is Diversity of Citizenship
                      1.         The Plaintiff(s)
                                 a.         If the plaintiff is an Individual
                                            The plaintiff, (name) Jeanetta Springer and Jacob C. Springer       , is a citizen of the
                                            State of (name) Alabama

                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                 is incorporated
                                           under the laws of the State. of (name)
                                           and has its principal place of business in the State of   (name)




                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additionalplaintff)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                                 is a citizen of
                                           the State of (name)                                                Or is a citizen of
                                           (foreign nation)


                                                                                                                            Page 3 of
               Case 2:17-cv-00693-WKW-SMD Document 1 Filed 10/13/17 Page 4 of 6

Pro Se 1(Rev. 12/16)C2nplaint for a Civil Case



                               b.         If the defendant is a corporation
                                          The defendant, (name) Wells Fargo Bank, N.A.                    , is incorporated Under
                                          the laws of the State of (name) Delaware                                   , and has its
                                          principal place of business in the State of (name) California
                                          Or is incorporated under the laws of (foreign naaon)
                                          and has its principal place of business in (name)

                               (if more than one defendant is named in the complaint, attach an additional page providing the
                               same information for each additional defendant.)

                     3.        The Amount in Controversy
                               The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                               stake-is more than $75,000, not counting interest and costs of court, because (explain):
                               We lost both real property and peace of mind due to the violation of our Constitutional Rights
                                and the laws of this nation mentioned above.




M. Statement of Claim
         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
         A foreclosure proceeding was held at Circuit Court of Randolph County, Alabama in order to pressure me, Jacob
         C Spnnger, into signing a check issued by the Circuit Court of Randolph Countyj Alabama in another civil
         action The first time this was attempted it was on "deceased property" The second time was because of "late
         payments". The Evidence clearly showed the house had not reached foreclosure status, however, this evidence
         was not presented due to violation of due process The house was unlawfully siezed by the State of Alabama
         Department of Revenue by issuing a writ to seize the property for $998.69, even though I (Jacob Springer) never
         had an account with Wells Fargo Bank or had any dealings with them

IV. Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
         The House, located on 619 Lafayette Highway, Roanoke, AL 36274, needs to be returned to us and
         compensation for any damage and destruction to the house with the present state its in. Compensatory
         damages are also being sought for the violation of our Constitutional Rights and abuses by the state actors under
         color of law. Punitive damages are also being sought to prevent this from happening again, and a jury trial is
         being sought


                                                                                                                         Page 4 of 5
              Case 2:17-cv-00693-WKW-SMD Document 1 Filed 10/13/17 Page 5 of 6

Pro. Se 1(Rev.12/16)Cc,1aintforaCivi1Case




V.       Certification and Closing
         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery, and (4) the complaint otherwise complies with the
         requirements of Rule 11.

         A.       For Parties Without an Attorney

                  I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                  served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                  in the dismissal of my case.

                  Date of signin,

                  Signature of P
                  Printed Name

         B.       For Attomey.

                  Date of sigiiing:

                  Signature of Attorney
                  Printed Name of Attorney
                  Bar Number
                  Name of Law Firm
                  Street Address
                  State and Zip Code
                  Telephone Number
                  E-mail Address




                                                                                                                   Page 5 of 5
   Case 2:17-cv-00693-WKW-SMD Document 1 Filed 10/13/17 Page 6 of 6




The Defendant, Sirote & Permutt, PC, is incorporated under the laws of the State
of Alabama and has its principal place of business in Birmingham, Alabama.

The Defendant, State of Alabama Department of Revenue, is incorporated under
the laws of the State of Alabama and has its principal place of business in
Montgomery, Alabama.
